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             IN THE UNITED STATES DISTRICT
            FOR THE NORTHERN DISTRICT OF GE~
                       ATLANTA DIVISION

KEITH THOMAS,
                                                                       By:

        Plaintiff,                                   Civil Action File i~.
                                                     1 :21-cv-03369-WMR
V.


BANK OF AMERICA, N.A.,
et al.,

        Defendants.

              PLAINTIFF’S RESPONSE TO DEFENDANT
             RUBIN LUBLIN. LLC’S MOTION TO DISMISS

          NOW COMES Keith Thomas, plaintiff in the above action before

the court do respond to and object to Defendant Rubin Lublin, LLC’s motion

to dismiss and state the following;

          Defendant Rubin Lublin, LLC’s Statement of Facts Are

Incorrect; Defendant Rubin Lublin, LLC’s description of the plaintiff as a

“Serial Litigator who has been mounting baseless challenges to try to avoid

foreclosure for over a decade.” Is as far from the truth as night is from day.

The fact is, the plaintiff is a victim of a massive fraudulent scheme that has

been perpetrated against the general public, mostly African Americans and

other people of color that this defendant is the most recent to join into as

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none of his facts are correct, mcludmg his so called statement that “The

Plaintiff obtained the mortgage loan at issue in 2007 from Northstar

Mortgage Group, LLC [Northstar] [See Doc. 1] at ¶9. To secure repayment

of this loan, the Plaintiff conveyed the real property located at 2655 West

Road, Riverdale, Georgia 30296 to Mortgage Electronic Registration

Systems, Inc. as nominee for Northstar, its successors and assigns, via

security deed recorded on June 25, 2007, in Deed Book 45245, Page 448,

Fulton County, Georgia records (the Security Deed”).

      In this recital, defendant Rubin Lublin, LLC’s version of the alleged

transfer of any rights from Northstar to Mortgage Electronic Registration

Systems, Inc. [IvIERS] was only valid during the time frame that Northstar

remained a VALID and LICENSED corporation in Georgia. Beyond the

point in time that Northstar ceased to exist, there are no operations of either

state or federal that supports a NOMINEE having any financial powers or

legal powers to act on the behalf of the person or company which that

Nominee is alleged to be acting in the behalf of. According to

“Investopedia” the only available legal definition for “Nominee” is as

follows; “A nominee is a person or firm whose name is titled on securities

or other property to facilitate certain transactions or transfers while leaving

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the original customer as the actual legal owner, in this way, a nominee can

serve as a CUSTODIAN”. See Investopedia... .August 14, 2021, fact check

by Yarilet Perez.. Additionally, the term Nominee according to (Black’s Law

Dictionary 1076   [8th   ed 2004]). Described the word “Nominee” as “[a]

person designated to act in place of another, usually in a very limited way”

or “a party who holds bare legal title for the benefit of others.”. “This

definition suggests that a nominee possesses few or no legally enforceable

rights beyond those of a principal whom the nominee serves.”

       Defendant Rubin Lublin’s recital of the account of events that took

place on or around June 12, 2007 to be that this plaintiff assigned a financial

interest over to MERS or either that Northstar Mortgage Group, LLC

assigned a financial interest over to MERS by and through MERS being

named as a Nominee to act on the behalf of Northstar. This entire notion is

not only false, but it is impossible given that MERS had no financial interest

within the entire transaction and the only event that took place, according to

the actual signed contract, was that Northstar Mortgage Group, LLC

identified MERS to act as an Agent on their behalf during the lifetime or

existence of their business operations. According to all documented

definitions for the word “Nominee”, at most, a Nominee’s ability to act on

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the behalf of the actual owner only exists during the life span of the actual

owner. Basically, the same as the identified powers of a person acting as a

“Power of Attorney” on the behalf of another person. Whenever the person

becomes deceased, the Power of Attorney dies along with that person.

According to Blacks Law Dictionary, a Power of Attorney is “An Instrument

authorizing to act as the agent or attorney of the person granting it.” If the

person ceases to exist, the power to act no longer exists. “Marque and

Reprisal to Minister Maxim     —   The Foundations of Equity, “He Who Seeks

Equity Must Do Equity.” “He Who Comes Into Equity Must Come With

Clean Hands.”   —   “Equity follows the Law.”, “Equity Acts Specifically.”

“Equity Regards substance rather than form.”

       In this instant case, Defeiidant Rubin Lublin, LLC is seeking to

portray MERS as if they walked into the room, was granted a financial

interest into the transaction between this plaintiff and Northstar and on or

around August 23, 2010, MERS assigned their equity or financial interest

within the plaintiff’s property over to Bank of America, N.A. and the on or

about December 19, 2011 MERS assigned an alleged Corrective Assignment

over to Bank of America, N.A. Again, this entire scenario is impossible
                                    .




because MERS had no financial interest or “Equity” within the initial

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transaction in the first place coupled with the fact that Northstar did not exist

as a legal entity after January 9, 2010. The only operation of authorization

[if any] that MERS could act in was as an Agent on the behalf of Northstar

during the 2 and a half years following the June 12, 2007 transaction

between this plaintiff and Northstar. As this defendant have acknowledged,

the   11th   Circuit have ruled that a party not involved in a transaction [Contract

or Document Signing] is basically a stranger to the transaction. In this case,

MERS is a total Stranger to any and all financial elements of any

transactions between this plaintiff and Northstar. See Morgan Chase Bank,

N.A.,783 S.E. 2d 614, 620 (Ga. 2016). This principal equally applies to

MERS in this instant case given that MERS was not present and in the room

on the day that the contract was signed between this plaintiff and Northstar

and also because MERS had no financial interest within the transaction

whatsoever, MERS is a total Stranger to the referenced transaction and only

was authorized to act as an AGENT or NOMINEE on the behalf of

Northstar prior to Northstar becoming non-existent.

         Given that defendant Rubin Lublin, LLC have admitted that they are

fully aware of all of the events leading up to or prior events leading up to the

filing of this present lawsuit, then they should also be fully aware of the fact

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that each and every Judge assigned to all of plaintiffs previously filed

lawsuits had a financial and or contractual interest in written form, such as a

contract or mortgage contract and also that each one of them stood to benefit

in the outcome one way or another in each of the cases filed by this plaintiff.

See Copies ofmortgage contracts expressing afinancial interest between

each of the Judges both State and Federal that were assigned to the

plaint~ff’s previouslyfiled cases attached hereto as Plaint~ff’s Exhibits “1   “,




‘‘2   ‘‘,   ‘‘3 and ‘‘4

            Additionally, Defendant Rubin Lublin, LLC was aware or should have

been aware of the fact that the Federal Judicial Canons of Ethics as well as

Georgia’s Judicial Canons of Ethics identify this type of behavior, on it’s

face, to be illegal and evidence of bias and prejudice to the detriment of an

opposing party such as in this instant case as each of the Judges were

influenced to rule against this plaintiff.

             Defendant Rubin Lublin, LLC attempts to discount the facts as they

actually happened in 2010 by indicating that the plaintiff did not have an

injunction hearing before Judge James R. Saca and that the only set of

events that took place was that the plaintiff filed bankruptcy and the

automatic stay kicked in preventmg a foreclosure from Bank of America.

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N.A.. The facts are actually as the plaintiff stated them to be within his

lawsuit before this court and if necessary, Judge Saca needs to be called as a

witness as to what actually took place on that day in his courtroom.

        Plaintiffs Claims Are Not Barred By The Doctrine Of Res

Judicata; Defendant Rubm Lubim, LLC is also aware or should be aware

of the fact that in order for this action to barred due to Res Judicata the same

exact litigation must be the subject of this lawsuit and the same exact

defendants had to be named to this lawsuit, on the contrary, this lawsuit does

not litigate the same exact issues and it does not name the same exact

defendants as evidenced that Rubm Lublm, LLC is named as a defendant.

This defendant’s recital of the requirements for Res Judicata to be invoked

are totally without merit and can not be accepted by this court as a matter of

law. It is quite clear that the plaintiff have never initiated a lawsuit against

Rubin Lublin, LLC at any point in time in the past other than this specific

lawsuit, accordingly, Res Judicata does not apply for any claims alleged by

this plaintiff between the plaintiff and Rubin Lublin, LLC.

        Defendant Rubin Lublin, LLC’s Claim That The Plaintiff Lacks

Standing To Challenge Any Assignment Of His Security Deed Is

Without Merit Given That The Entire Process Was and Is Rooted In

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Fraud; As previously stated, this defendant have mischaracterized the truth

by refusing to admit that MERS had no fmancial interest within the

plaintiff’s residential property on August 23, 2010, and also that each and

every Judge assigned to adjudicate plaintiff’s lawsuit(s) all had a financial

interest in the outcome of plaintiff’s case and that financial interest more

than likely motivated the adverse rulings made against the plaintiff, and also

that Rubin Lublin, LLC was already fully aware of these facts prior to

having mailed a letter to this plaintiff claiming to have to the authority to

initiate a foreclosure against this plaintiff on the behalf of Bank of America,

N.A. when there is no legal contract that has ever existed between this

plaintiff and Bank of America, N.A.

       O.C.G.A. 44-14-162 through 44-14-162.4 provides that in Georgia,

only the Lender or legal title owner have the authority to conduct a non-

judicial foreclose on a residential property if the mortgage agreement have

the “Power of Sale Clause” specifically spelled out within the wording of it.

In 2010, Bank of America, N.A. did not have a signed mortgage contract

identifying this plaintiff as owing Bank of America any amount of money in

the form of a mortgage against plaintiffs residential property then nor do

they have one now.

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       Evidence of the U.S. Magistrate Judge’s shifting opinions in favor of

Bank of America, N.A. is displayed on page 24 thru 29 of docket number

117 of the first civil action filed by this plaintiff against Bank of America,

N.A. where Judge Baverman appeared to “truthfully” indicate that there was

no physical evidence that places this plaintiff and Bank of America, N.A.

into any fmancial obligation what so ever. Bank of America offered NO

EXPLANATION as to how they acquired the Note, or how they were able

to first initiate their First attempted foreclosure against this plaintiff. See

copies ofpages 24 thru 29 ofdocket 117 of Thomas v. Bank ofAmerica,

N.A. et al, case no. 1:1]-00391-WSD-AJB in the US. dist. Ct. ndga attached

hereto as Plaint~ff c Exhibit “5   “.




        Plaintiff Has Stated A Claim For Civil Rights; As stated in the

response to Defendant McGuire Woods, LLP’s motion to dismiss with

prejudice, the plaintiff re-assert the same exact reasons and standards as the

grounds as to why the plaintiff have in fact stated a claim for a violation of

his civil rights under The Civil Rights Act of 1866. See p1aint~ff’s response

to Defendant McGuire Woods, LLP ‘s Motion to Dismiss with prejudice flied

into this case on 10 29 2021.

        Additionally, Defendant Rubin Lublin, LLC made a conscious

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decision to represent Bank of America, N.A. for the purposes of initiating a

purported non-judicial foreclosure against this plaintiffs residential

property, however, given that this defendant appears to have known the

entire history of events between Bank of America, N.A. and this plaintiff,

they willfully entered into an agreement that they knew or should have

known was motivated for reasons other than money owed given that this

plaintiff do not owe Bank of America any money and also given that there is

no physical contract signed by this plaintiff to Bank of America that would

justify Rubin Lublin, LLC to demand any amount of money from this

plaintiff.

        The fact that the plaintiff is a member of the African American race

and based on the fact that the plaintiff have not been able to sell, convey or

transact any business concerning his residential property as a direct result of

the fraudulent assignment document that Rubin Lublin, LLC is aware of,

that justifies the plaintiff’s claim that Rubin Lublin, LLC willfully agreed to

engage into act that they knew or should have known violated this plaintiffs

rights as an African America citizen.

        This defendant cited several cases citing 42   U.S.C. §   1983 indicating

that the statue of limitations had afready ran. This is incorrect first because

                                        10
   Case 1:21-cv-03369-WMR Document 22 Filed 10/29/21 Page 11 of 33




the plaintiff did not cite 1983 as a basis within the jurisdiction of this lawsuit

for the court to consider nor did the plaintiff cite 1983 as the grounds for

discrimination. For these reasons, this defendant is incorrect as to their

indication that the statue of has ran afready.

       As to this defendant’s assumption that the plaintiff can not show that

Baiik of America has targeted African Americans, the plaintiff again

references his responses to Defendant McGuire Woods, LLP’s Motion to

Dismiss where the plaintiff has pointed to an AJC news article that identifies

this fact in more details.

      Plaintiff Has Stated A Claim For Mail Fraud And RICO; For the

same exact reasons stated within plaintiffs response to Defendant McGuire

Woods, LLP’s motion to dismiss, the plaintiff re-asserts the same exact

reasoning as his response to this assertion made by this defendant. See

P1aint~ffs response to Defendant McGuire Woods, LLP ‘s Motion to Dismiss

With Prejudice filed into this case on 10 29 2021.

       This defendant’s decision to mail a letter to the plaintiff incorporates

them into the overall scheme that the plaintiff have fully outlined within the

above referenced response to Defendant McGuire Woods, LLP. For the

sake of not sounding redundant, the plaintiff respectfully ask the court to

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attribute each and every set of events, grounds and responses to the

plaintiff’s already filed response and apply those events, grounds and

responses to this set of defendants as they are a continuation of the same set

of events.

       Plaintiff Has In Fact Stated A Claim For Fraud And Civil

Conspiracy Against This Defendant; The plaintiff re-asserts the same set

of grounds, events and responses made against Defendant McGuire Woods,

LLP against this defendant for the same exact reasons. Additionally, this set

of defendants decision to represent Bank of America, N.A. in another

fraudulent foreclosure speaks as evidence to both fraud and also to civil

conspiracy. Additional evidence of fraud involving this set of defendants is

the fact that Rubin Lublin, LLC’s decision to agree with Bank of America,

N.A. to proceed against this plaintiff with a fraudulent assignment document

for the purposes of fraudulently taking the plaintiff’s house is more than

fraud, it’s criminal. Same reasoning for the civil conspiracy, the law only

require two or more individuals to participate in an unlawful act in a lawful

manner to achieve an unlawful outcome. This is exactly what this defendant

and Bank of America, N.A. is attempting to do.

       For the reasons stated within this response and for others that the

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plaintiff can present after discovery, the plaintiff respectfully request that

this c           in Lubim, LLC’s motion to dismiss.
                                ~c’~ L
Keith homas, plaintiff
P.O. Box 960242
Riverdale, GA 30296
404-8838-0394




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                  PLAINTIFF’S EXHIBIT “1”
      Case 1:21-cv-03369-WMR Document 22 Filed 10/29/21 Page 15 of 33
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                                                                                                Clerk of Superior Court
                                                                                                  t-ulton County, Beorgia




 Recording Requested By: BRANCH BANKING & TRUST CO.
 When Recorded Return To: WILLIAM S DUFFEY JR. 43 IVY CHASE NE. ATLANTA. GA 30342-0000

                                  DISCHARGE OF DEED TO SECURE DEBT
 BRANCH  BANKING & TRUST CO. #:000006991421384 ‘DUFFEY’ Lender ID~7/61 5/476554357               Fulton. Georgia
 MERS #: 100159969914213841 VRU 1:1-888-679-6377


 Prepared By       Betty Nelson, BRANCH BANKING & TRUST CO. P0 BOX 2127, GREENVILLE, SC 29602-2127
 800-295-5744
 The Indebtedness referred to in that certain Deed to Secure Debt from WILLIAM S. DUFFEY JR. • A MARRIED MAN
 BETSY B. DUFFEY to PREMIER ALTANTA MORTGAGE COMPANY. Dated: 10/10/2007 and filed of record on
 10/19/2007 In Book)ReeI/Llber: 45859, Page/Folio: 478, of the office of the Clerk of the Superior Court of Fulton
 County. Georgia as Instrument No.: 2007-0297161 havIng been paid in full and cancelled by the undersigned on the
 date shown below and the undersigned being the present record holder and owner of such deed; or the undersigned
 being the present owner of such secured interest by virtue of being the original grantee or the heir. devisee.
 executer, administrator, successor, transferee or assignee, or the servicing agent to whom indebtedness was paid
 on behalf of or by grantor, the Clerk of such Superior Court is authorized and directed to cancel that deed of record.
 as provided in Code Section 44-14-4 of the 0. C. G. A. for other mortgage cancellations.
 Property Address: 43 IVY CHASE NE, ATLANTA, GA 30342
 I.
 In witness whereof, the undersigned has set hand and seal.

 MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC
 On May 13th. 2008


 By:Y~~             ~ d2p~zt~
 MARCIA L RIDGEON, Assistant
 Vice-President

 WITNESS                                                      WITNESS

      4f3~~aI~,                                               _______




 STATE OF South Carolina
 COUNTY OF Plckens
 On May 13th, 2008, before me, DANA M HART, a Notary Public in and for Pickens County, in the State of South
 Carolina, personally appeared MARCIA L PRIDGEON, Assistant Vice-President, personally known to me (or proved
 to me on the basis of satisfactory evidence) to be the person(s) whose name(s) is/are subscribed to the within
 instrument and acknowledged to me that he/she/they executed the same in his/her/their authorized capacity, and
 that by his/her/their signature on the instrument the person(s), or the entity upon behalf of which the person(s) acted,
 executed the instrument.WITNESS my hand and official seal.
                                                                    ~ 11111l~
 WITNESS my hand and official seal,                           “~~M
                                                              ~

 DANAMHART
 Notary Expires: 07/23/2012                                   ~,                   ,-‘

                                                                                                  (This area for notarial seal)
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                                                                             ..~




 ‘5N9N96N705/13/2005 1019:02                                                              J~ MOIRT REL “BNBBNT
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                           II                                                                                               GEORGIA. FULTON COUNTY
                                                                                                                              FILED AND RECORDED
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                           I                                                                                                  IS99APR—I       AN&30
                                                                                                                                   JUANITA HLCKS
                                                                                                                             CLERX. SUPERIOR COURT




                                                        QUIt-CLAIM DEED FOR RELEASE OF DEED TO SECURE DEBT.

                                          STATE OF GEORGIA, FULTON, County.
                                           THIS INDENTURE, made the jj day of ~ in the yearj~ between
                                      Countrywide Home Loans. Inc. (fka Countrywide Funding Comorg~) as party or patties 01
                                      the first part, hereinafter called Grantor, and
                                      WILLIAM S DUFFEY, JR.
                                 ~1J_
                                     as party or panics of thc second part, hercinafle, called Grantee (the words “Granto?’ and Gra~i~
                                     to include their respective heirs, successors and assigns where the context requires or permits).
                                              WITNESSEflj That the Granto, for and in consideration of the awn of ONE AND NO/IQO
                                 U..     DOLLAR ($1.00) AND OThER GOOD AND VALUABLE CONSIDERATION, caslt in hand paid,




                       I
                                         the receipt of which is hereby acknowledged has bargained, sold, and does by these presents bargain,
                                         sell, remise, release and forever quit claim to Grantec thc interest of Grantor arising solely by virtue
                                         of the lien of that certain Deed to Secure Debt from
                                          WILLIAM S DUFFEy, JR.
                                C.)      to PREMIER ATLANTA MORTGAGE dated ~ti~2J~’j~ securing payment of S~3~LOOO.OO
                                         and recorded in Deed Book ~ Page ~. Eiihoii County, Georgia Records, in and to the
                                         l~llowing described real property, to wit:
                                          As descjjt,~d in said Deed of Trust/Mortuagg~


                       /
                                        with all the rights, members and appurtenances to the said described premises in anywise Ippertaining
                                        or belonging,
                                             TO RAVE AND TO HOLD the said described presnises unto the Grantee so that neither the said
                                        Grantor, nor any other person or persons claiming under Grantor shall at any lime claim or demand
                                        any right~ title or interest to the aforesaid describcd premises or its appurtenances.
                                       IN WiTNESS WHEREt)jr, thc Grantor lisa al              and sealed this deed, the day and year above
                                       Written.
                                       Signed, sealed and delivered in presence of

                                                                                                    Countrywide Home Loans, Inc. (Ike
                                        ~ ~s.~se~1                                                  Countrywide Funding Corporation)
                                         Witness: Petalusa Haswell


                                                                                                  —
                                                                                                   David Teague
                                                                                                   Awsiant    —
                                         My commission expires: Q3~jt~QQ~

                                          “        KAWONNA ~ REEVES                                     80OK26684P~(IO35
                                        (~)       ~,



                                       Mail Recorded Satisfaction To:
                                          WILLIAM S DUFFEY, JR.                                Document Prepared By;
                                          4825 FRAN)cL~N POND NE                                  Rose Rich
                                          A1tAMFA              GA 30342                           6400 Legacy Drive
                                                                                                  MSNPj,pt~~ 75Q~4

                                                                                                                CR1. Loan N 8150516
w

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                                                                                           2B—~4a~4-7
                                                                                         Juanita Hi~k~
                                                                                              Clerk of Superior Court
                                                                                               Fulton County, Georgia




  Recording Requested By: BRANCH BANKING & TRUST CO.
  When Recorded Return To: MORRIS & SCHNEIDER (GA- ATLANTA) 5163 ROSWELL RD. ATLANTA, GA 30342

                                      DISCHARGE OF DEED TO SECURE DEBT
  BRANCH BANKING& TRUST CO. 5:000006990931222 “DUFFS’r Lender ID-005/002!8990931222                          Fulton, c~orgia
  MERS #: 100159969909312228 VRU 5: 1-888-679-6377


  Prepared By: Margarita Martinez, BRANCH BANKING & TRUST CO. P0 BOX 2127. GREENVILLE, SC
  29602-2127 800-295-5744
  The Indebtedness referred to in that certain Deed to Secure Debt from BETSY BYARS DUFFEY AND WILLIAMS S
  DUFFEY, JR. to PREMIER ATLANTA MORTGAGE COMPANY, Dated: 01/05/2004 and filed of record on
  01/27/2004 in Book/ReeI/Liber: 36944. Page/Folio: 257, of the office of the Clerk of the Superior Court of Fulton
  County, Georgia as Instrument No.: 20040026768 having been paid in full and cancelled by the undersigned on the
  date shown below and the undersIgned being the present record holder and owner of such deed: or the undersigned
  being the present owner of such secured Interest by vIrtue of beIng the original grantee or the heir. devisee.
  executer, administrator, successor, transferee or assignee, or the servicing agent to whom Indebtedness was paid
  on behalf of or by grantor, the Clerk of such Superior Court is authorized and directed to cancel that deed of record,
  as provided In Code Section 44-14-4 of the 0. C. G. A. for other mortgage cancellations.
  Property Address: 4825 FRANKLIN POND ROAD. ATLANTA, GA 30342
  In witness whereof, the undersigned has set hand and seal.

  MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC SOLELY AS                                                                            AND
  TRUST COMPANY
  On December 9th. 2005



  M~?PRl~EON.Assisffin~~
  Vice-President

  WITNESS                                                      WITNESS


   1~t~24~k~                      A1~A~

  STATE OF South Carolina
  COUNTY OF Greenville
  On December 9th, 2005, before me, CORALIE STRUCKMAN, a Notary Public In and for GREENVILLE County. In
  the State of SOUTH CAROLINA, personally appeared MARCIA L PRIDGEON, Assistant Vice-President of the
  corporation that executed the within Instrument, known to me to be the persons who executed the within instrument
  on behalf of the corporation herein named, and acknowledged to me that such corporation executed the within
  Instrument pursuant to Its by-laws or a resolution of its board of dlrectors.Witness my hand and official seal.
  WITNESS my hand~alseal~                                                          I~i ~,I
                                                                          ~

  C~ALIE STRUCK~AN
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  Notary Expires: 04/19/2011
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  ‘U MU MBBNTI2/0912005 02                                    GAFULTO’ 000006990931222 GASTATE MORT REL “U UBBNT
Case 1:21-cv-03369-WMR Document 22 Filed 10/29/21 Page 18 of 33




                  PLAINTIFF’S EXHIBIT “2”
                  Case 1:21-cv-03369-WMR Document 22 Filed 10/29/21 Page 19 of 33
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~“   C2’~      ~


                                                                                                               32482
                                                                                         F11edadRrd~M~1~1B46
                                                                                            Real Estate Transfer Tax $1.$~
                                                                                           J~~-ti-t~ Hj~J~9
                                                                                                      Clerk of Superior Court
                                                                                                       Fulton County, 6eor~ja
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             3003 M~Mfl 0IRWA~
             SUfl! 775
             ATLANTA, GA 303i5


              WARRANTY DEED (FORM 36A)
              Return to;   ~
             McCalla, Ra~gçcr, Padrick, Cobb, Nichols
             & Clark. LI
             56 Perime   Center East, Ste 320
             AtIn         ia 30346


                                                        WARRANTY DEED
             STATE OF GEORGIA
             COUNTY of DeKaIb


                      THIS INDENTURE, made              the      21st    day of    December              ,   in the year
             two thousand      One     ,   between

                                                          Alan J. Baverman


            of the County of     FLilton                  ,and State of Georgia, as party or parties of the first part,
            hereinafter called Grantor, and

                                                              Elida Baverman


            as party or parties of the second part, hereinafter called Grantee (the words “Grantor” and “Grantee” to
            include their respective heirs, successors and assigns where the context requires or permits).
                    WITNESsETH~ That Grantor for and in consideration of the sum of TEN AND NOI100
            DOLLARS            ($10.00) AND OTHER GOOD AND VALUABLE CONSIDERATION,
            in hand paid at and before the sealing and delivery of these presents, the receipts whereof is hereby
            acknowledged, has granted, bargained, sold, aliened, conveyed and confirmed, and by these presents does
            grant, bargain, sell, alien, convey and confirm unto the said Grantee,


                  All that tract or parcel of land lying and being in Land Lot 132 of the 17th District of Fulton County,
            Georgia, being Lot 35, Block A of Rivershore Estates Subdivision, Unit Nine, as per plat recorded in Plat
            Book 92, Page 44, Fulton County Records, which plat is incorporated herein by reference and made a part
            hereof.

        This conveyance is made subject to that certain loan deed from Alan J. Baverman
        and Elida Baverman to Greater Atlanta Mortgage CO., dated 12/21/02, filed and
        recorded in Fulton County Records, in the original amount of $140,000.00., and
        that certain loan deed from Elida Baverman to Wachovia Bank of Georgia, N.A., dated
        10/3/96, filed 10/30/96 and recorded in Deed Book 21734, page 35, said records,
        in the original amount of $225,000.00.
              Case 1:21-cv-03369-WMR Document 22 Filed 10/29/21 Page 20 of 33
            Nm KEITH THOMAS DocCpy-I CFN DE2002-0164683 ORB DE BK32482-PG0062 Pgs 1-2 Instr:WD Page :2 of 2


                                                                                    Deed nook 324~2 Pg          £~3
                                                                                     3i..t~riit~ Hic~I.c~
                                                                                          Clerk of Superior Court
                                                                                           Fulton County, Georgia
                                                                                    1111(111111111 ii 11*11 III 1111111 lii U Ill II lUll UI I Ill




                THIS CONVEYANCE is made subject to all zoning ordinances, easements and restrictions of
        record affecting said described property.
                TO HAVE AND TO HOLD the said described property, with all and singular the rights,
        members and appurtenances thereof to the same being, belonging, or in anywise appertaining, to the only
        proper use, benefit and behoof of the said Grantee forever in FEE SIMPLE.

                 AND THE SAID         Grantor will warrant and forever defend the right and title to the said described
        property unto the said   Grantee against the claims of all persons whomsoever.

                 IN WITNESS WHEREOF,                the Grantor has signed and sealed this deed, the day and year
        above written.



    Signed, seai                                      of:
                                                                                               7
                                                                  ______________________________(Seal)
                                                                   Alan J. l3a~~erman                                 -




                                                                                                                          (Seal)


    N~                                                                                                                    (Seal)
        /
    /

I                                                                                                                         (Seal)
   Case 1:21-cv-03369-WMR Document 22 Filed 10/29/21 Page 21 of 33
Nm. KEITH THOMAS DocCpy-I CFN DE2002-0164680 ORB DE BK32482-PG0044 Pgsl5-16 Instr:SD Page: 1 of 2



                                                                      Deed Book 32482 P~            ~A
                                                                     Ilwulllm~InhllrnltuIuli~uII iui.iiiiiim
                                             Exhibit “A”

All that tract or parcel of land lying and being in Land Lot 132 of the 17th District of Fulton County,
Georgia, being Lot 35, Block A of Rivershore Estates Subdivision, Unit Nine, as per plat recorded
in Plat Book 92, Page 44, Fulton County Records, which plat is incorporated herein by reference and
made a part hereof.
                 Case 1:21-cv-03369-WMR Document 22 Filed 10/29/21 Page 22 of 33
               Nm: KEITH THOMAS DocCpy-I CFN DE2002-0164680 ORB DE BK32482-PG0044 Pgs 15-16 lnstr:SD Page :2 of 2
       •              M~ALLA.RAv~~R,PADRIac,~ee,            aaAm(
           •          3003 ~ O0UZVA~
   GEORGIA            SUITE 775                                                                     Deed Book 3~4B2 Pg          ~
                      ATLANTA, GA 30319                                                              Jt.iaiijt.~ Hi~Ic~
   GRANTOR:            ALAN J.    BAVERMAN and ELIDA BAVERMAf4                                            Clerk of Superioz Court
                                                                                                           Fulton County, Georgia
   LENDER:             Greater Atlanta MCg.        Co.
                                                                                                    111111 WIIIIIUIIIIIIIIIIUIIIUIUII,I,IjJ,,IgIjjw

   DATE OF SECURITY DEED:              December 21,      2001


                                             WAIVER OF BORROWER’S RIGHTS

  BY EXECUTION OF THIS PARAGRAPH, GRANTOR EXPRESSLY: (1) ACKNOWLEDGES THE RIGHT TO
  ACCELERATE THE DEBT AND THE POWER OF ATTORNEY GIVEN HEREIN TO LENDER TO SELL THE PREMISES
  BY NONJUDICIAL FORECLOSURE UPON DEFAULT BY GRANTOR WITHOUT ANY JUDICIAL HEARING AND
  WITHOUT ANY NOTICE OTHER THAN SUCH NOTICE AS IS REQUIRED TO BE GIVEN UNDER THE PROVISIONS
  HEREOF; (2) WAIVES ANY AND ALL RIGHTS WHICH GRANTOR MAY HAVE UNDER THE FIFTH AND
  FOURTEENTH AMENDMENTS TO THE CONSTITUTION OF THE UNITED STATES, THE VARIOUS PROVISIONS OF
  THE CONSTITUTION FOR THE SEVERAL STATES, OR BY REASON OF ANY OTHER APPLICABLE LAW TO NOTICE
  AND TO JUDICIAL HEARING PRIOR TO THE EXERCISE BY LENDER OF ANY RIGHT OR REMEDY HEREIN
  PROVIDED TO LENDER, EXCEPT SUCH NOTICE AS IS SPECIFICALLY REQUIRED TO BE PROVIDED HEREOF;
  (3) ACKNOWLEDGES THAT GRANTOR HAS READ THIS DEED AND SPECIFICALLY THIS PARAGRAPH AND ANY
  AND ALL QUESTIONS REGARDING THE LEGAL EFFECT OF SAID DEED AND ITS PROVISIONS HAVE BEEN
  EXPLAINED FULLY TO GRANTOR AND GRANTOR HAS BEEN AFFORDED AN OPPORTUNITY TO CONSULT WITH
  COUNSEL OF GRANTOR’S CHOICE PRIOR TO EXECUTING THIS DEED; (4) ACKNOWLEDGES THAT ALL WAIVERS
  OF THE AFORESAID RIGHTS OF GRANTOR HAVE BEEN MADE KNOWINGLY, INTENTIONALLY AND WILLINGLY
  BY GRANTOR AS PART OF A BARGAINED FOR LOAN TRANSACTION; AND (5) AGREES THAT THE PROVISIONS
  HEREOF ARE INCORPORATED INTO AND MADE A PART OF THE SEC R TV DEED.
                READ AND AGREED BY GRANTOR:
                                                                                                        --
     Signed, Sea~,~i and delivered in the presence of:
                                                                                     ,-J.   OI~V~t~L”jI’JN                                    (Seal)
                                                                                                                                             -Grantor


                                                                            ~
                                                                                                                                             Grantor


                                                                                                                                              (Seal)
                                                                                                                                             Grantor


                                                                                                                                              (Seal)
                                                                                                                                            -Grantor



                                            CLOSING ATTORNEY’S AFFIDAVIT

      Before It~(e undersigned attesting officer personally appeared the undersigned closing attorney, who, having
 been first d~)4r sworn according to law, states under oath as follows:
      in closing the above loan, but prior to the execution of the Deed to Secure Debt and “Waiver of the Borrower’s
 Rights” by the Borrower(s), I reviewed with and explained to the Borrower(s) the terms and provisions of the Deed
 to Secure Debt and particularly the provisions thereof authorizing the Lender to sell the secured property by a
 nonjudicial foreclosure under a power of sale. together with the Waiver of Borrower’s RIghts” and informed the
 Borrower(s) of Borrower’s rights under the Constitution of the State of Georgia and the Constitution of the United
 States to notice and a judicial hearing prior to such foreclosure in the absence of a knowing, intentional and willing
 contractual waiver by Borrower(s) of Borrower’s rights. After said review with and explanation to Borrower(s),
 Borrower(s) executed the Deed to Secure Debt and Waiver of Borrower’s Rights.”
      Based on said review with and explanation to the Borrower(s), it is my opinion that Borrower(s) knowingly,
 intentionally and willingly executed the waiver of Borrower’s constitutional rights to notice and judicial hearing prior
 to any such nonjudicial foreclosure.

 Sworn to and subscribed before

                                                                                                                on the date set forth above.



                                                                                                                                  Closing Attorney


                                          FORECLOSURE CLOSING
      O.C.G.A. Section 7-1-1014(3> requires that we inform you ~
documents that you sign in connection with obtaining a mortgag
collateral for tI~4 mgrtgage,Ld&ri rough foreclosure




~,96OlGA) ieaOiios                                VMP MORTGAGE FOAMS   -   (900)521.7291
                                                                                                                                             .7,94
Case 1:21-cv-03369-WMR Document 22 Filed 10/29/21 Page 23 of 33




                 PLAINTIFF’S EXHIBIT “3”
       Case 1:21-cv-03369-WMR Document 22 Filed 10/29/21 Page 24 of 33
Nm: KEITH THOMAS DocCpy-l CFN DE2021-0181004 ORB DE BK63715-PG0049 Pgs 1-2 Instr:CANC SD Page:1 of 2



                                                                     Deed Book 63715 Page 49
                                                                     Filed and Recorded 05/06/2021 11.07 00 AM
                                                                     2021 0181004
                                                                     CATHELENE ROBINSON
                                                                     Clerk of Superior Court
                                                                     Fulton County, GA
                                                                     Participant IDs. 2755203723
                                                                     7067927936




  This instrument drafted by
  and after recording return to:
  Amanda Koss
  Quicken Loans, LLC
  635 Woodward Ave.
  Detroit, MI 48226
  800-226-6308
  Tax 11) Number: 14-0018-0013-037-8

                             SATISFACTION OF SECURITY DEED
  I otto Number: 3347052 190
  Mortgage Electronic Registration Systcms, Inc., as grantee, as nominee for QUICKEN LOANS INC., its
  successors and assigns, grantee of a certain Security I)eed, bearing the date October 23, 2015, executed by
  CONSTANCE C. RUSSELL, A StNGI E WOMAN, to Mortgage Electronic Registration Systems, Inc., as
  grantee, as nominee for QUICKEN L.OANS INC., its successors and assigns, and recorded on November 12,
  2015, in Book 55569, Page 392, OR Instrument No. 2015-0304084, in the office of superior court clerk of
  FULTON County, Georgia Records, having been paid in full and the undersigned being the present record holder
  snd owner of such deed by virtue of being the Grantee the Superior Court Clerk is authori7cd and directed to
  cancel that deed of record as provided in Code Section 44-14-4 of the O.C.G.A. for other mortgage cancellations
  as to property described as

                                    SEE AYFACI-IED LEGAL. DESCRIPTION

  Commonly known a.s: 850 Ralph Mcgill Blvd I’~e 38 Atlanta GA, 30306


  Dared this May 3, 2021
  SIGNORS:


  Mortgage Electronic Registration Systems, Inc., as grantee, as nominee for
  QUICKEN LOANS INC., its successors and assigns
  By: Cole Harden
  Its: Assistant Secretary of MERS

  W1TNESS~


  Printed       Georgina Morttoya

                               NOTARY ACKNOWLEDGEMENT AND AtTESTATION

  STATE OF MICHIGAN)
  5$
  C’OI.rNTV OF WAYNE)

  On May 3,2021, before me, Arnanda Miller, the above signed officer, Cole harden, personally appeared and
  acknowledged to be the Assistant Secretary of Mortgage Electronic Registration Systems, Inc. ,as grantee, as
  nominee for QUICKEN LOANS INC., its successors and assigns and that is, authorized to, executed the foregoing
  instrument for the purposes therein contained, by signing in the name of the corporation by as Mortgage Electronic
  Registration Systems. Inc. , as grantee, as nominee for QUICKEN LOANS INC., its successors and assigns.


  Notary Public, State of Michigan, County Of W~VWE                                     AMANDA MILLER
  My Commission Expires: October 7, 2026                                        NOTARY PUBLIC - STATE OF MICHIGAN        I
  Acting in the County of Wayne                                                       COUNTYOF WAYNE
                                                                                My CoiPmission Expires October 7, 2026   I
                                                                                 Acting in the County of Wayn~J




  MIN: l0003903~470521901 MER$~one: (888)67            -               1111111111111 II lilt I lIlIllIlIllIlli III ill
    Case 1:21-cv-03369-WMR Document 22 Filed 10/29/21 Page 25 of 33
Nm: KEITH THOMAS DocCpy-I CFN DE2021-0181004 ORB DE BK63715-PG0049 Pgs 1-2 Instr:CANC SD Page : 2 of 2


                                                                                     Deed Book 63715 Page 50
                                                                                     CATHELENE ROBINSON
                                                                                     Clerk of Superior Court




                               EXHIBIT A         -   LEGAL DESCRIPTION

     Taxid Number(s): 14 -0018-0013-037-8

    Land Situated in the City of Atlanta in the County of Fulton in the State olGA

    ALL. THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 18 OF THE 14TH DISTRICT,
    FULTON COUNTY, GEORGIA, AND BEING MORE PARTiCULARLY DESCRIBED AS FOLLOWS:

    CONDOMINIUM UNIT 38 OF COPENHILL LOFTS CONDOMINIUM, A CONDOMINIUM, AS MORE
    PARTICULARLY DESCRIBED AND DEUNEATED IN THE DECLARATION OF CONDOMINIUM FOR
    COPENHILL LOFTS CONDOMINiUM, RECORDED IN DEED BOOK 29555, PAGE 272, FULTON COUNTY,
    GEORGIA

    THIS CONVEYANCE IS MADE SUBJECT TO THE DECLARATION AND ALL MATTERS REFERENCED THEREIN,
    ALL MATTERS SHOWN ON THE RAT RECORDED IN CONDOMINIUM PLAT BOOK 13, PAGE 110. FULTON
    COUNTY, GEORGIA RECORDS, AND THE FLOOR PLANS RECORDED IN CONDOMINIUM FLOOR PLAN
    8001< NO 7, PAGE 3, Er. SEQ., AFORESAID RECORDS.

    THE PROPERTY ADDRESS AND TAX PARCEL IDENTIFICATION NUMBER LISTED ARE PROVIDED SOLELY
    FOR INFORMATIONAL PURPOSES.
    Commonly known as:     850 Ralph McGill Blvd NE 38, Atlanta, GA 30306
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                  PLAINTIFF’S EXHBIT “4”
   Case 1:21-cv-03369-WMR Document 22 Filed 10/29/21 Page 27 of 33
 Nm: KEITH THOMAS DocCpy-I CFN DE2004-0297550 ORB DE BK38542-PG0087 Pgs 1-4 Instr:SD Page:1 of 4


                                                                                              Deed Book 38542 Pg          87
                                                                                          Filed and Recorded Sep—23—2e~4 e1~33p.
    Return To:                                                                                   2øø4—Ø2975~
                                                                                            Beorgia Intangible Tax Paid $2,~7e.~
                                                                                               Juanita Hicks
                                                                                                   Clerk of Superior Court
    2100 RIVEREDGE                               Y, SUITE 950                                       Fulton County, Seorgia
                                                                                                t~IIIIIpIIIUISI~ISiii.
                                                                                     CANC
                                                                                   DE Book 55250 Page 5S5
    2100 RIV~               ~pARK~Ay, SUITE 950
                            30328


                                                   -[Space Above Thu Line For Reeordlng DataJ
Welssman, Nowaclç Cuny & Wilco, P.C.
5901-B ~eachtree-Dunwoody Rd.
Suite 300
                                                     SECURITY DEED
                                                                                     MIN        1002293—2000032322—5
ADanta, Ga. 30328
~a~-o~ ç

   DERN1TIONS

   Words used in multiple sections of this document are defined below and other words are defined in
   Sections 3, 1, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document are
   also provided in Section 16.

   (A) “Security Instrument” means this document, which is dated                                August 30, 2004
   together with all Riders to this document.
   (B) “Borrower”is BARRY L. Z]}t4ERMAN




  Borrower is the grantor under this Security Instrument.
  (C) “MERS” is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is
  acting solely as a nominee for Lender and Lender’s successors and assigns. MERS is the grantee under
  this Security Instrument. MERS is organized and existing under the laws of Delaware, and has an
  address and telephone number of P.O. Box 2026, Flint, MI 48501-2026, tel. (888) 679-MERS.


  Zfl44EI~N,BA TF                                                                     MIN#:         1002293—2000032322—5
  GEORGL4.Single Family-Fannie MaelFreddle Mac UN~ORM INSTRUMENT WITH MERS                                    Form 3011 1101

  ©.6A(GA)       (0005)01




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  Page 1 of 14   MW 04199.02          InItials                       MW 06100.01

        VMP MORTGAGE FORMS     .   (800)521.7291
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                 PLAINTIFF’S EXHIBIT “5”
             Case 1:21-cv-03369-WMR Document 22 Filed 10/29/21 Page 29 of 33




           involving MERS, reaching same conclusion under similar Oregon law); Lomboy v.

           SCMEMortg. Bankers, No. C-09-1 160 SC, 2009 WL 1457738, *3 (N.D. cal. May 26,

           2009) (in case involving MERS, reaching same conclusion under similar california

           law).4

                                d.     “Bank of America’s”          Ability   to    Initiate
                                       Foreclosure Proceedings

                    In paragraph 57 of Plaintiff’s complaint, Plaintiff appears to admit that the

           security deed in issue here was assigned to Countrywide LP. [Doc. 1     ¶ 57 (“Bank of
           America relied upon a flawed security instrument that was assigned to Countrywide

           Home Loan Servicing LP from Northstar Home Loan Mortgaging Group.”)].

           In amended paragraph 12, however, Plaintiffasserts that “[t]o plaintiff’s knowledge and

           belief, no documents exist that would transfer or assign a function to Countrywide

           Home Loans Servicing, LP or to BAC Home Loans Servicing, LP f/k/a Countrywide

           Home Loans Servicing, LP.” [Doc. 14 at 2]. To the extent Plaintiff is attempting to

           suggest in this amended paragraph that no assignment was ever made (valid or invalid),

           this is clearly inaccurate: Plaintiff himself attached a copy of the assignment to his


                        Because the assignment attached to Plaintiffs complaint purports to assign
           the security deed to BAC, not Countrywide LP, the undersigned does not address
           Plaintiffs assertions related to the document from the Secretary of State of Texas
           indicating that Countrywide LP changed its name to BAC.

                                                      24


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           original complaint. That document indicates that the security deed was assigned from

           MERS (“solely as nominee for Northstar Mortgage Group LLC”) to “BAC Home

           Loans Servicing, L.P. FKA Countrywide Home Loans Servicing, L.P.” [Doc. 1-2 at 2].

           It is therefore difficult to conclude anything other than that an assignment of the deed

           was made to BAC.5 Further, the fact that the recording of the assignment was made

           after the initiation of foreclosure proceedings does not invalidate those proceedings.

           As the Bank Defendants note, [Doc. 8 at 13-14; Doc. 19 at 8], under Georgia law, “[t]he

           security instrument or assignment thereof vesting the secured creditor with title to the

           security instrument shall be filed prior to the time ofsale in the office of the clerk of

           the superior court of the county in which the real property is located.” O.C.G.A.   § 44-
           14-162(b) (emphasis added). Thus, as long as the sale has not been consummated, the




                        Plaintiff may simply have intended to suggest that while a document
           purporting to be an assignment exists, it is fraudulent or otherwise invalid. [See, e.g.,
           Doc. 1 ¶ 11]. One of the arguments to this effect made in Plaintiff’s response to the
           motion to dismiss is that the assignment was invalid because the Bank Defendants “can
           prove no set of facts” that would make the McCalla Raymer attorney who signed the
           security-deed assignment “both an officer for Northstar and for MERS.” [Doc. 12 at 9].
           As the Bank Defendants note, however, [Doc. 19 at 11], MERS members may have a
           person on their staff become a certified MERS office with the authority to sign on
           behalf of MERS, Jackson v. Mortg. Elec. Registration Sys., Inc., 770 N.W.2d 487,491
           (Minn. 2009). In any event, for the reasons explained further below, Plaintiff’s fraud
           claims fail.

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               initiation of foreclosure proceedings is not hindered by the fact that the recording of the

               assignment (if valid) was not made until after that initiation.

                     Plaintiff did not merely suggest that any assignment was invalid because it was

               recorded after the initiation of foreclosure proceedings, however. Separate from the

               recording issue, in paragraph 34 Plaintiff also asserts that “Bank of America” did not

               have an assigned interest at the time of the institution of the foreclosure proceedings.

               [See Doc. 1   ¶     34 (“Bank of America did not possess any documents assigning an

               interest to them from any person or party into plaintiff’s property prior to the

               commencing of the wrongful foreclosure proceedings which were initiated on or about

               June 10, 2010”)]. Notably, not only was the recording of the assignment of the security

               deed not made until after the initiation of the foreclosure proceedings, but it also

               appears that the assignment itself was not made until thereafter.           Plaintiff refers

               variously to June and July as the time when those proceedings were instituted,

               [see Doc. 1   ¶~J   2 (July 4), 5-6 (June 10), 16 (June 10), 33 (July 4), 34 (June 10),

               38 (June 10), 57-58 (June), 65-66 (June 1), 69 (June 10), 71 (June)]          and the Bank

               Defendants do not contest this, [see Doc. 8 at 3 & n.3, 4, 12, 22]   —   yet the assignment

               of the security deed attached to the complaint was not executed until August 23, 2010,

               [Doc. 1-2 at 3], which by itself might suggest that Plaintiff is correct that “Bank of


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           America” did not have the authority to initiate foreclosure proceedings.6 With his

           response to the motion to dismiss, however, Plaintiff attached a notice from Northstar

           dated June 12, 2007, indicating that the servicing rights to Plaintiff’s account were

           being transferred to Countrywide Inc. effective August 1, 2007. [Doc. 12 at 21;

           12-1 at 2]. Another document, undated, indicates that the loan account would be

           transferred to Countrywide Inc. effective August 1, 2007. [Doc. 12 at 23; 12-1 at 4].

                  These earlier documents indicating an assignment raise questions that do not

           appear to have been completely answered by the parties. For example, it appears that

           Countrywide Inc. received an assignment of servicing rights effective August 1, 2007,

           but it is unclear if and when those rights were transferred to other parties, much less the

           party to whom they were transferred. It is also unclear how Countrywide Inc. relates

           to Countrywide LP or Countrywide FSB, or whether one of the present defendants is

           a successor-in-interest to Countrywide Inc. The parties do not appear to address these

           questions in any significant detail. Plaintiff provides a case from the U.S. Bankruptcy

           Court for the District of New Jersey that he claims proves that Countrywide Inc. and



                 6      The Bank Defendants do not discuss or even note this potential problem,
           and instead they simply cite paragraph 57 of the complaint as an admission that the
           security instrument was assigned to Countrywide LP, which later became BAC,
           [see Doc. 8 at 12-13].

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           the authority to initiate foreclosure proceedings in this case.8 As will be explained

           below, however, all but one of the claims relevant to the assignment fail regardless of

           the time any assignments were made,9 although some admittedly fail only because they

           were insufficiently pleaded.

                         2.    The Merits of Plaintiff’s Claims

                               a.     Wrongful Foreclosure

                  “‘Georgia law requires a plaintiff asserting a claim of wrongful foreclosure to

           establish a legal duty owed to it by the foreclosing party, a breach of that duty, a causal

           connection between the breach of that duty and the injury it sustained, and damages.’”

           DeGolyer v. Green Tree Servicing, LLC, 291 Ga. App. 444,448,662 S.E.2d 141, 147

           (2008) (quoting Heritage Creek Dev. Corp. v. Colonial Bank, 268 Ga. App. 369, 371,

           601 S.E.2d 842, 844 (2004)). A foreclosing party has the duty to exercise fairly the

           power of sale in a deed to secure a debt under O.C.G.A.   § 23-2-114.   See Calhoun First

           Nat ‘1 Bank v. Dickens, 264 Ga. 285, 285, 443 S.E.2d 837, 838 (1994). Thus, there is


                 8      For this reason, and also because the argument was not raised in Plaintiff’s
           complaint, the undersigned will not address Plaintiffs assertion that Northstar was a
           mortgage underwriter not a “secured lender”          and therefore did not have the
           authority to assign the security deed to MERS, [see Doc. 12 at 12).

                       The exception is the FDCPA claim, which is the sole claim that the
           undersigned concludes survives the motion to dismiss.

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